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TRINA A. HIGGINS, United States Attorney (#7349)
BRYAN N. REEVES, Assistant United States Attorney (DC #994799)
Attorneys for the United States of America
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111
Telephone: (801) 524-5682  Facsimile: (801) 524-3399


                      IN THE UNITED STATES DISTRICT COURT
                      DISTRICT OF UTAH, NORTHERN DIVISION

  UNITED STATES OF AMERICA,                    Case No. 1:24-cr-00037-DAK

         Plaintiff,
                                               UNITED STATES’ MOTION FOR
         vs.                                   DETENTION

  THOMAS ACOSTA-VALLE,
                                               JUDGE DALE A. KIMBALL
         Defendant.


       The United States advises the Court of its Position Regarding Detention:

☐      The United States is not seeking detention.

☒       The United States moves for detention based on current information. Detention is
not at issue because this is an immigration reentry case where the defendant has opted to
participate in the fast track program, which includes agreeing to detention for the
pendency of this case.

☐      The United States moves for detention based on current information. The United
States’ positions in this preliminary pleading could change after reviewing the Pretrial
Report or learning of additional evidence. The United States reserves the right to assert
positions even if the boxes next to those positions are not checked below, raise additional
arguments, and file additional pleadings in support of detention. The United States’
motion for detention is:

☐ Pursuant to 18 U.S.C. § 3142(f)(1) because defendant is charged with:
       ☐ (A) a crime of violence (see 18 U.S.C. § 3156(a)(4)), a violation of 18 U.S.C.
         § 1591 (sex trafficking of children), or an offense under § 2332b(g)(5)(B)
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        (specific enumerated crimes) for which a maximum term of imprisonment of
        10 years or more is prescribed; or
      ☐ (B) an offense for which the maximum sentence is life imprisonment or death;
        or
      ☐ (C) an offense for which a maximum term of imprisonment of 10 years or
        more is prescribed in the Controlled Substances Act (21 U.S.C. §§ 801-904),
        the Controlled Substances Import and Export Act (21 U.S.C. §§ 951-971), or
        Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
      ☐ (D) any felony if the defendant has been convicted of two or more offenses
        described in (a) through (c) above, or two or more State or local offenses that
        would have been offenses described in (a) through (c) above if a circumstance
        giving rise to Federal jurisdiction had existed, or a combination of such
        offenses; or
      ☐ (E) any felony that is not otherwise a crime of violence but involves: (i) a
        minor victim; (ii) the possession or use of a firearm or destructive device (as
        defined in 18 U.S.C. § 921); (iii) any other dangerous weapon; or (iv) a failure
        to register under 18 U.S.C. § 2250;

                                           OR

☒ Pursuant to 18 U.S.C. § 3142(f)(2) because the case involves:

      ☒ (A) a serious risk the defendant will flee; or
      ☐ (B) a serious risk the defendant will obstruct or attempt to obstruct justice, or
        threaten, injure, intimidate, attempt to threaten, injure or intimidate a
        prospective witness or juror.

                                   Procedure

       The defendant may seek a continuance of the detention hearing of up to five days,
and the United States may seek a continuance of up to three days. 18 U.S.C. § 3142(f).
During any such continuance, the defendant shall be detained. Id. The rules concerning
the admissibility of evidence do not apply at the detention hearing. Id. The United States
has the burden of persuasion by clear and convincing evidence that no condition or
combination of conditions of release will reasonably the safety of any other person and
the community or by a preponderance of evidence that no condition or combination of
conditions of release will reasonably assure the defendant’s appearance as required. Id.;
United States v. Cisneros, 328 F.3d 610, 616 (10th Cir. 2003).
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                               Rebuttable Presumption

☐ A rebuttable presumption applies and the defendant bears the burden to produce some
  credible evidence to rebut this presumption. The United States acknowledges that it
  retains the burden of persuasion. The statutory presumption applies:
      ☐ Pursuant to 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
        presumption that no condition or combination of conditions will reasonably
        assure the safety of any other person and the community because:
             (A) the defendant has previously been convicted of a Federal offense that is
                 described in 18 U.S.C. § 3142(f)(1), or of a State or local offense that
                 would have been such an offense if a circumstance giving rise to
                 Federal jurisdiction had existed; and
             (B) the defendant committed that offense while on release pending trial for
                 a Federal, State, or local offense; and
             (C) a period of not more than five years has elapsed since the date of
                 conviction, or the release of the defendant from imprisonment, for that,
                 whichever is later.
      ☐ Pursuant to 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There
         is a rebuttable presumption that no condition or combination of conditions will
         reasonably assure the appearance of the defendant as required and the safety of
         the community because there is probable cause to believe that the defendant
         committed one or more of the following offenses:
          ☐ (A) an offense for which a maximum term of imprisonment of 10 years or
            more is prescribed in the Controlled Substances Act (21 U.S.C. §§ 801-
            904), the Controlled Substances Import and Export Act (21 U.S.C. §§ 951-
            971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
          ☐ (B) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
          ☐ (C) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum
            term of imprisonment of 10 or more is prescribed;
          ☐ (D) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-
            1597) for which a maximum term of imprisonment of 20 years or more is
            prescribed; or
          ☐ (E) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591,
            2241, 2242, 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2),
            2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260,
            2421, 2422, 2423, or 2425.
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                               Factors to Be Considered

        The United States may present arguments, proffer evidence, or provide testimony
at the scheduled detention hearing supporting the detention of the defendant including,
but not limited to:
☐ The nature and circumstances of the offense charged, including whether the offense is
  a crime of violence, a violation of section 1591, a Federal crime of terrorism, or
  involves a minor victim or a controlled substance, firearm or destructive device. (18
  U.S.C. § 3142(g)(1)).
☐ The weight of evidence against the defendant. (18 U.S.C. § 3142(g)(2)).
☐ The history and characteristics of the defendant including the defendant’s character,
  physical and mental condition, family ties, employment, financial resources, length of
  residence in the community, community ties, past conduct, history relating to drug or
  alcohol abuse, criminal history and record concerning court proceedings. (18 U.S.C.
  § 3142(g)(3)(A)).
☐ Whether, at time of the current offense or arrest, the defendant was on probation,
  parole, or other release pending trial, sentencing, appeal, or completion of sentence
  for an offense under Federal, State, or local law. (18 U.S.C. § 3142(g)(3)(B)).
☐ The nature and seriousness of danger to any person or to the community that would be
  posed by the defendant’s release. (18 U.S.C. § 3142(g)(4)).
☐ The defendant’s lack of legal status in the United States. The defendant’s legal status
  is:
☐ How the defendant would be subject to removal or deportation after serving a period
  of incarceration.
☐ The defendant’s significant family or other ties outside of the United States.
☐ The defendant’s use of aliases or false documents.
☐ The defendant’s prior attempts to evade law enforcement.
☐ How the defendant’s proposed residence, employment, or proposed treatment
  programs have not been verified.
☐ The defendant’s prior failures to appear for court proceedings.
☒ Other reasons including:
      The defendant is a native and citizen of Honduras, who has been removed from
      the United States on one occasion. After his removal, the defendant illegally
      reentered the United States. The Defendant was recently found by immigration
      officials after an arrest in Davis County, Utah. The Defendant was recently found
      by immigration officers after he was arrested convicted for distribution of a
      controlled substance, to wit: fentanyl. The Defendant’s immigration history
      evidences his foreign ties, his lack of legal residence in the United States and his
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      ability to illegal navigate to through multiple countries. The Defendant’s criminal
      history evidences the danger that he poses to the public as well as his lack of
      respect for court orders and conditions. It is for these reasons that the United
      States respectfully requests that the Defendant be ordered detained during
      pendency of these proceedings.


                                  Victim Notification

☐ The United States has notified any identified victim, or attempted to do so, pursuant to
  18 U.S.C. § 3771.

      ☐ The victim(s) in this matter seek(s) a no contact order.

☒ This matter does not involve a victim requiring notification.

      DATED this 8th day of August, 2024.


                                              TRINA A. HIGGINS
                                              United States Attorney




                                              BRYAN N. REEVES
                                              Assistant United States Attorney
